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                                                                10   FACEBOOK, INC. and INSTAGRAM, LLC

                                                                11
                                                                                          UNITED STATES DISTRICT COURT
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




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                                                                                       NORTHERN DISTRICT OF CALIFORNIA
                                                                13
                                                                                               SAN FRANCISCO DIVISION
                                                                14
                                                                     FACEBOOK, INC., a Delaware              CASE NO.: 3:20-cv-02429
                                                                15   corporation; INSTAGRAM, LLC, a
                                                                16   Delaware limited liability company,     COMPLAINT; DEMAND FOR
                                                                                                             JURY TRIAL
                                                                17               Plaintiffs,
                                                                18
                                                                           v.
                                                                19
                                                                20   BASANT GAJJAR, d/b/a
                                                                     “LeadCloak”
                                                                21
                                                                22               Defendant.

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                                                                 1         Plaintiffs Facebook, Inc. (“Facebook”) and Instagram, LLC (“Instagram”) allege
                                                                 2   the following:
                                                                 3                                     INTRODUCTION
                                                                 4         1.     Since May 2016, Defendant has enabled and assisted fraudulent
                                                                 5   advertisers in circumventing Facebook’s and Instagram’s advertisement review
                                                                 6   process using a practice known as “cloaking.” Cloaking is a “bait-and-switch”
                                                                 7   technique used to hide the true nature of the website linked to an ad from Plaintiffs,
                                                                 8   meanwhile presenting different content to users who clicked on the ad. Specifically,
                                                                 9   Defendant developed, marketed, and sold software and services designed to cloak ads
                                                                10   that violated Plaintiffs’ Terms and Policies. As a result, Defendant prevented
                                                                11   Plaintiffs from detecting and rejecting improper ads.
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                                                                12         2.     Defendant’s cloaking services were used to promote, among other things,
                                                                13   deceptive diet pills and pharmaceuticals, cryptocurrency investment scams, and even
                                                                14   misinformation about the economic impact of the COVID-19 pandemic.
                                                                15         3.     In addition to using technical enforcement measures against Defendant,
                                                                16   Plaintiffs bring this action for monetary and injunctive relief to stop Defendant’s
                                                                17   abuse and misuse of their platforms and products and violations of their Terms and
                                                                18   Advertising Policies.
                                                                19                                          PARTIES
                                                                20         4.     Plaintiff Facebook is a Delaware corporation with its principal place of
                                                                21   business in Menlo Park, San Mateo County, California. Plaintiff Instagram is a
                                                                22   subsidiary and product of Facebook.
                                                                23         5.     Defendant Basant Gajjar is the founder and system architect of an
                                                                24   unregistered California business called “LeadCloak,” which offered cloaking software
                                                                25   as a service on LeadCloak.com. Exs. 1, 2, and 3. According to the LeadCloak.com
                                                                26   website, LeadCloak is a “powerful cloaker that you can use to easily cloak various ad
                                                                27   networks to get targeted traffic to your website and offer pages.” Exs. 3 and 4.
                                                                28   LeadCloak claims that it enables advertisers to circumvent ad review systems used by

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                                                                 1   Facebook, Instagram, Google, Oath, WordPress, Shopify, and others. Exs. 3 and 4.
                                                                 2   Defendant Gajjar has operated LeadCloak since at least May 2016. Exs. 1 and 2.
                                                                 3          6.    Defendant Gajjar is a citizen of India, currently residing in Bangkok,
                                                                 4   Thailand. According to information from public records, between 2004 and 2019,
                                                                 5   Defendant has also used various personal and business mailing addresses in the
                                                                 6   United States, including addresses in Sacramento and San Jose, California. According
                                                                 7   to Gajjar’s LinkedIn profile, one of his businesses operates in San Francisco. Ex. 1.
                                                                 8                               JURISDICTION AND VENUE
                                                                 9          7.    The Court has jurisdiction under 28 U.S.C. § 1332 over all causes of
                                                                10   action alleged in this complaint because complete diversity exists and the amount in
                                                                11   controversy exceeds $75,000.
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                                                                12          8.    Defendant had multiple Facebook and Instagram accounts and thereby
                                                                13   agreed to Instagram’s Terms of Use, and Facebook’s Terms of Service and agreed to
                                                                14   submit to the personal jurisdiction of this Court for litigating this matter. Defendant
                                                                15   also had multiple ad accounts and agreed to Facebook’s Commercial Terms under
                                                                16   which he agreed to submit to the personal jurisdiction of this Court.
                                                                17          9.    In addition, the Court has personal jurisdiction because Defendant
                                                                18   knowingly directed and targeted his conduct at California and at Plaintiffs, which have
                                                                19   their principal place of business in California. Defendant transacted business and
                                                                20   engaged in commerce in California. Plaintiffs’ claims arise directly from all of these
                                                                21   California contacts.
                                                                22          10.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) as
                                                                23   the threatened and actual harm to the Plaintiffs occurred in this district.
                                                                24          11.   Pursuant to Civil L.R. 3-2(c), this case may be assigned to either the San
                                                                25   Francisco or Oakland division because Facebook is located in San Mateo County.
                                                                26   ///
                                                                27   ///
                                                                28   ///

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                                                                 1                               FACTUAL ALLEGATIONS
                                                                 2         A.     Background
                                                                 3                   1.     Advertising on Facebook and Instagram
                                                                 4         12.    Facebook is a social networking website and mobile application that
                                                                 5   enables its users to create their own personal profiles and connect with each other on
                                                                 6   their personal computers and mobile devices. As of December 2019, Facebook daily
                                                                 7   active users averaged 1.66 billion and monthly active users averaged 2.5 billion.
                                                                 8         13.    Instagram is a photo and video sharing service, mobile application, and
                                                                 9   social network. Instagram users can post photos and videos to their profile. They can
                                                                10   also view and comment on posts shared by others on Instagram.
                                                                11         14.    Anyone with a Facebook or Instagram account can create and place ads
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                                                                12   on Facebook and Instagram. Every week, users create millions of ads through
                                                                13   Plaintiffs’ ad platforms, which provide advertisers with many options for reaching
                                                                14   their target audiences, so long as the ads comply with Facebook’s and Instagram’s
                                                                15   terms and policies.
                                                                16         15.    To create and publish an ad on Facebook and Instagram, an advertiser
                                                                17   must agree to Facebook’s Terms of Service, Self-Serve Ad Terms, Commercial
                                                                18   Terms, and Advertising Policies. Advertisers are also subject to Facebook’s
                                                                19   Community Standards and Instagram’s Community Guidelines.
                                                                20         16.    Ads are subject to Facebook’s ad review system, which relies primarily
                                                                21   on automated tools that review ads for compliance with Facebook’s Advertising
                                                                22   Policies. This automated review happens before an ad can run. Ads may also be
                                                                23   subject to additional review after they are published, depending on user feedback and
                                                                24   other indicators.
                                                                25         17.    If the ad review process identifies a policy violation, the ad is rejected,
                                                                26   and the advertiser will receive a rejection message. Some ads are flagged by the
                                                                27   automated ad review system for manual human review. If the ad review system does
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                                                                 1   not detect a policy violation, the advertiser will receive a notification confirming that
                                                                 2   the ad will begin running.
                                                                 3          18.   Facebook can also take a range of enforcement actions against an
                                                                 4   advertiser who violates the Advertising Policies, including banning an ad account
                                                                 5   from running ads.
                                                                 6                   2.      Cloaking
                                                                 7          19.   One of the components reviewed by the ad review system is the website
                                                                 8   landing page (“landing page”) a person will see if he or she clicks on an ad. If the
                                                                 9   landing page violates Facebook’s Advertising Policies, the ad will be rejected.
                                                                10          20.   “Cloaking” is a malicious technique used to circumvent the ad review
                                                                11   process in order to deliver content on a landing page that violates Facebook’s
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                                                                12   Advertising Policies.
                                                                13          21.   Cloaking is used to misrepresent the landing page linked in an ad as
                                                                14   compliant to Facebook and its ad review system, while simultaneously promoting
                                                                15   non-compliant goods or services to Facebook users visiting the same landing page.
                                                                16   Essentially, the web server hosting the landing page is programmed to display a
                                                                17   landing page to Facebook’s review system that falls within the bounds of the
                                                                18   Advertising Policy, when in fact, the true landing pages displayed to users frequently
                                                                19   promote deceptive products and services and display disallowed images. The true
                                                                20   landing pages will frequently include ads for deceptive diet pills and pharmaceuticals,
                                                                21   cryptocurrency investment scams, or images of sexual content. Figure 1 is a visual
                                                                22   illustration of how cloaking generally works.
                                                                23   ///
                                                                24   ///
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                                                                 1                              Figure 1: FB Ad Review and Cloaking
                                                                 2
                                                                 3               WITHOUT CLOAKING                              WITH CLOAKING
                                                                 4
                                                                                    Ad with link to website                     Ad with link to website
                                                                 5
                                                                                       Facebook Ad Review
                                                                 6                           System                        Facebook                   Facebook Ad
                                                                                                                             Users
                                                                                                                                                     Review System
                                                                 7
                                                                 8                    Facebook detects                  Non-compliant            Compliant
                                                                                                                         landing page           landing page
                                                                                 non-compliant landing page
                                                                 9
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                                                                11
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                                                                12                     3.      Facebook Terms of Service, Instagram’s Terms of Use, the
                                                                13                             Advertising Policies, and Commercial Terms
                                                                14         22.      All Facebook users must agree to Facebook’s Terms of Service1 and
                                                                15   other rules that govern access to, and use of, Facebook. Those Terms include
                                                                16   Facebook’s Advertising Policy, Self-Service Ad Terms, and Commercial Terms.
                                                                17         23.      Everyone who uses Instagram agrees to Instagram’s Terms of Use2 and
                                                                18   other rules that govern access to and use of Instagram, including Instagram’s
                                                                19   Community Guidelines.3 The Instagram Terms of Use state that because Instagram is
                                                                20   a Facebook product, the Instagram Terms of Use constitute an agreement between
                                                                21   Instagram users and Facebook.4
                                                                22
                                                                23
                                                                24
                                                                     1
                                                                       Facebook’s Terms of Service can be found at https://www.facebook.com/terms.php.
                                                                25   2
                                                                       Instagram Terms of Use can be found at
                                                                26   https://help.instagram.com/581066165581870.
                                                                     3
                                                                       Instagram Community Guidelines can be found at
                                                                27   https://help.instagram.com/477434105621119.
                                                                28   4
                                                                       https://help.instagram.com/581066165581870.

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                                                                 1          24.   Instagram’s Terms of Use and section 3.2.1 of the Facebook Terms of
                                                                 2   Service prohibit users from “do[ing] . . . anything unlawful, misleading, [ ] or
                                                                 3   fraudulent” or facilitate or support others in doing so.
                                                                 4          25.   Section 3.2.2 of the Facebook Terms of Service prohibits “upload[ing]
                                                                 5   viruses or malicious code or doing anything that could disable, overburden, or impair
                                                                 6   the proper working or appearance of [Facebook] Products.”
                                                                 7          26.   Facebook’s Advertising Policies specify what types of ad content are
                                                                 8   allowed by people or entities that advertise across the Facebook Products.
                                                                 9          27.   Facebook’s Self-Serve Ad Terms apply when a user uses self-serve
                                                                10   advertising interfaces to create, submit, or deliver advertising or other commercial or
                                                                11   sponsored activity or content. The Self-Service Ad Terms include the Advertising
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                                                                12   Policies.
                                                                13          28.   Advertising Policy 4.13 (available at https://www.facebook.com/policies/
                                                                14   ads/) prohibits “ads, landing pages, and business practices” from “contain[ing]
                                                                15   deceptive, false, or misleading content, including deceptive claims, offers, or
                                                                16   methods.”
                                                                17          29.   Advertising Policy 4.28 prohibits “tactics intended to circumvent our ad
                                                                18   review process or other enforcement systems,” including “techniques that attempt to
                                                                19   disguise the ad’s content or destination page,” as well as “[r]estrict[ing] Facebook’s
                                                                20   access to an ad’s destination page.”
                                                                21          30.   Advertising Policy 4.32 prohibits ads that “promote products, services,
                                                                22   schemes or offers using deceptive or misleading practices.”
                                                                23          31.   Facebook Commercial Terms apply to access and use of Facebook and
                                                                24   Facebook Products for any business or commercial purpose. Business and
                                                                25   commercial purposes include, but are not limited to, advertising and products on
                                                                26   Facebook and Instagram.
                                                                27   ///
                                                                28   ///

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                                                                 1         B.     Defendant Agreed to Facebook and Instagram’s Terms and Policies
                                                                 2         32.    Defendant Gajjar has created and maintained at least four Facebook
                                                                 3   accounts since September 13, 2006, and therefore, agreed to Facebook’s Terms of
                                                                 4   Service and Policies. Between June 15, 2011 and November 16, 2019, Gajjar was an
                                                                 5   administrator of eight Facebook Pages that promoted marketing, computing, and
                                                                 6   financial services. Gajjar has used five ad accounts between January 4, 2008 and
                                                                 7   December 30, 2019.
                                                                 8         33.    Defendant Gajjar created and maintained two Instagram user accounts,
                                                                 9   since July 28, 2015 and November 7, 2019, and agreed to Instagram’s Terms of Use.
                                                                10         C.     Defendant’s Cloaking on Facebook
                                                                11         34.    Since March 2016, and continuing to the present, Defendant offered
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                                                                12   cloaking services on the LeadCloak website targeting Facebook, Google and other
                                                                13   advertising platforms. Exs. 1 - 5.
                                                                14         35.    Since January 2018, Defendant’s cloaking service was used to cloak the
                                                                15   landing pages for hundreds of ads on Facebook directed at Facebook users in the
                                                                16   United States and elsewhere. Some of the cloaked landing pages promoted
                                                                17   cryptocurrency schemes and diet scams in violation of Facebook’s Advertising
                                                                18   Policies and used the images of celebrities.
                                                                19         36.    For example, on or about September 16, 2019, Defendant’s cloaking
                                                                20   service delivered an ad with an innocuous landing page to Facebook’s ad review
                                                                21   system, which depicted an Amazon page for sweaters (Figure 2(a)). Ex. 6. In fact,
                                                                22   Facebook users that clicked on the same ad were directed to a fake Fox News page
                                                                23   marketing a dietary supplement and using images of celebrities (Figure 2(b)). Ex. 7.
                                                                24   The ad was directed at users in the United States, including California. Between
                                                                25   September 16, 2019 and September 17, 2019, approximately 425 Facebook users
                                                                26   clicked on the ad and were directed to a cloaked landing page as a result of
                                                                27   Defendant’s service.
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                                                                 1        Figure 2(a): Landing Page                      Figure 2(b): Landing Page
                                                                 2      Displayed to FB Review System                      Displayed to FB Users

                                                                 3
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                                                                           37.   Similarly, between March 21, 2020 and March 30, 2020, Defendant’s
                                                                10
                                                                     cloaking service was used to conceal the true landing page of ads directed at Facebook
                                                                11
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                                                                     users in Denmark in order to promote a crytocurrency investment scheme.
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                                                                12
                                                                     Specifically, at various times between March 21, 2020, and March 30, 2020,
                                                                13
                                                                     Defendant’s cloaking delivered an ad with an innocuous landing page to Facebook’s
                                                                14
                                                                     ad review system, which promoted stainless steel spoons (Figure 3(a)). Ex. 8. In fact,
                                                                15
                                                                     Facebook users that clicked on the same ad were directed to a fake news article that
                                                                16
                                                                     promoted bitcoin investments to counter the economic impact of the COVID-19
                                                                17
                                                                     pandemic and used the image of a local celebrity. (Figure 3(b)). Ex. 9.
                                                                18
                                                                     Appoximatley 4,202 Facebook users clicked on the ad.
                                                                19
                                                                20         Figure 2(a): Landing Page                   Figure 3(b): Landing Page
                                                                21       Displayed to FB Review System                   Displayed to FB Users

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                                                                 1         D.     Defendant’s Cloaking Service
                                                                 2         38.    Defendant promoted his cloaking service online and advertised that it
                                                                 3   was designed to circumvent various advertising review systems, including those
                                                                 4   operated by Facebook, Instagram, Google, Oath, WordPress, Shopify, and others.
                                                                 5   Exs. 3, 4, and 10. On his website, Defendant promoted various types of cloaking
                                                                 6   techniques to advertisers. Ex. 4. For example, Defendant’s website advised
                                                                 7   advertisers to block IP addresses belonging to Facebook or Google in order to prevent
                                                                 8   Facebook and Google from reviewing the non-complaint landing page used for the ad
                                                                 9   when advertising on Facebook and Google. Ex. 11.
                                                                10         39.    Defendant’s customers used LeadCloak.com to setup and run cloaked
                                                                11   advertising campaigns on Facebook and Google. Exs. 3, 4, and 10 – 14. Advertisers
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                                                                12   using the LeadCloak website were able to select the advertising network for the
                                                                13   campaign; the landing page to be shown to the ad review system; the geographic
                                                                14   locations to target with the campaign; and set other advertising criteria. Exs. 10 – 13.
                                                                15         40.    Once an advertiser set up a campaign, LeadCloak generated and
                                                                16   delivered computer code (“LeadCloak cloaking code”) to the advertiser that enabled
                                                                17   the advertiser to cloak ads on advertising networks, including Facebook if that was the
                                                                18   selected network. Ex. 13. The LeadCloak cloaking code provided the logic used to
                                                                19   determine which landing page would be shown to the user (or ad review system) that
                                                                20   clicked on an advertisement. Advertisers integrated the LeadCloak cloaking code into
                                                                21   their pre-existing code base on their web server to enable cloaking.
                                                                22         41.    In exchange for a fixed fee, Defendant provided advertisers with access
                                                                23   to his cloaking software and technical support. Ex. 14. Defendant offered his
                                                                24   cloaking service under a monthly plan or a “pay-as-you-go” plan. Id.
                                                                25         42.    Defendant charged monthly users of his cloaking services a fixed fee
                                                                26   based on the number of advertising campaigns the customer ran. Id. As shown in
                                                                27   Figure 4 below, the Defendant charged his monthly customers between $399 and
                                                                28   $1,999 a month for use of his cloaking service.

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                                                                 1                 Figure 4: Monthly Cost for Defendant’s Cloaking Service
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                                                                12         43.     Defendant charged “pay-as-you-go” advertisers a fixed fee based on the
                                                                13   number of clicks an advertiser’s advertisement received. Id. The prices for
                                                                14   Defendant’s “pay-as-you-go” plan is shown below in Figure 5.
                                                                15               Figure 5: Pay-as-you-go Cost for Defendant’s Cloaking Service
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                                                                 1         E.     Facebook’s Enforcement Actions
                                                                 2         44.    Facebook took various technical enforcement measures against
                                                                 3   Defendant and his customers, including disabling user and ad accounts on Facebook
                                                                 4   and Instagram.
                                                                 5         F.     Defendant’s Acts Have Caused Damage and a Loss to Facebook
                                                                 6         45.    Defendant interfered with Plaintiffs’ service and has negatively impacted
                                                                 7   the Facebook and Instagram experience for users who viewed and clicked on ads
                                                                 8   containing landing pages cloaked using his software and service.
                                                                 9         46.    Defendant’s breaches of Plaintiffs’ Terms and Advertising Policies have
                                                                10   caused Facebook substantial harm.
                                                                11         47.    Defendant’s actions injured Plaintiffs’ reputation, public trust, and
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                                                                12   goodwill.
                                                                13         48.    Facebook has suffered damages attributable to the efforts and resources it
                                                                14   has used to address this Complaint, investigate and mitigate Defendant’s conduct, and
                                                                15   attempt to identify, analyze, and stop his injurious activities.
                                                                16                                    CAUSE OF ACTION
                                                                17                                      (Breach of Contract)
                                                                18         49.    Plaintiffs reallege and incorporate all preceding paragraphs.
                                                                19         50.    Since September 13, 2006, Defendant Gajjar created and maintained at
                                                                20   least four Facebook user accounts and therefore he agreed to Facebook’s Terms and
                                                                21   Policies, including the Commercial Terms and Advertising Policies.
                                                                22         51.    Since July 28, 2015, Defendant Gajjar created and maintained two
                                                                23   Instagram user accounts and therefore he agreed to Instagram’s Terms of Use.
                                                                24         52.    Between June 15, 2011 and November 16, 2019, Defendant was an
                                                                25   administrator of eight Facebook Pages that promoted marketing, computing, and
                                                                26   financial services. Gajjar also used five ad accounts between January 4, 2008 and
                                                                27   December 30, 2019.
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                                                                 1           53.   From 2016 to the present, Defendant breached the Instagram Terms of
                                                                 2   Use, Facebook’s Terms of Service, and Advertising Policies 4.13, 4.28, and 4.32 by
                                                                 3   taking the actions described in this Complaint, including by cloaking the landing
                                                                 4   pages of ads appearing on Facebook and Instagram. More specifically, Defendant
                                                                 5   developed, marketed, and sold cloaking software as a service on his website
                                                                 6   LeadCloak.com. Defendant enabled and supported Facebook advertisers in
                                                                 7   circumventing Facebook’s automated ad review process and other enforcement
                                                                 8   systems. Through his actions, Defendant misrepresented certain ads’ true landing
                                                                 9   page to Plaintiffs, and as a result, Defendant facilitated and supported evading
                                                                10   Plaintiffs’ ad review system.
                                                                11           54.   Defendant’s actions violated Facebook’s Term of Service 3.2.1 and
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                                                                12   Instagram’s Terms of Use because they constitute unlawful, misleading, or fraudulent
                                                                13   conduct and Defendant facilitated and supported others to do the same.
                                                                14           55.   Defendant’s actions violated Facebook’s Term of Service 3.2.2 because
                                                                15   his cloaking code disabled and impaired and could disable and impair Facebook’s ad
                                                                16   review system and Facebook’s ability to access an ad’s landing page.
                                                                17           56.   Defendant violated Self-Service Ad Terms and Advertising Policies 4.13
                                                                18   and 4.32 because he cloaked ads that used landing pages that contained deceptive,
                                                                19   false, or misleading content, including deceptive and misleading claims, offers, and
                                                                20   methods to promote products, services and schemes like the cryptocurrency scam
                                                                21   shown in figure 3(b) above. Additionally, Defendant’s conduct violated Advertising
                                                                22   Policy 4.28, which explicitly prohibits the use of tactics to circumvent Facebook’s ad
                                                                23   review process, including restricting Facebook’s ability to access an ad’s landing
                                                                24   page.
                                                                25           57.   Defendant’s actions interfered and caused others to interfere with
                                                                26   Instagram and Facebook’s service in violation of Facebook’s Commercial Terms.
                                                                27           58.   Facebook has performed all conditions, covenants, and promises required
                                                                28   of it in accordance with its agreement with Defendant.

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                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
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                                                                 1           59.   Defendant’s breaches of Plaintiffs’ Terms and Policies have caused
                                                                 2   damages to Plaintiffs in an amount to be determined at trial.
                                                                 3                                 REQUEST FOR RELIEF
                                                                 4           WHEREFORE, Plaintiffs request judgment against Defendant as follows:
                                                                 5           1.    That the Court enter judgment against Defendant that Defendant has
                                                                 6   breached his contract with Plaintiffs in violation of California law; and
                                                                 7           2.    That the Court enter a permanent injunction enjoining and restraining
                                                                 8   Defendant and his agents, servants, employees, successors, and assigns, and all other
                                                                 9   persons acting in concert with or conspiracy with him or affiliated with Defendant
                                                                10   from:
                                                                11                 a.    Accessing or attempting to access Facebook’s and Instagram’s
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                       platform and computer systems;
                                                                13                 b.    Developing, offering, and marketing software or computer code
                                                                14                       intended to circumvent Facebook’s ad review process and other
                                                                15                       enforcement measures;
                                                                16                 c.    Engaging in any activity that disrupts, diminishes the quality of,
                                                                17                       interferes with the performance of, or impairs the functionality of
                                                                18                       Facebook’s and Instagram’s platform and computer systems;
                                                                19                 d.    Engaging in any activity, or facilitating others to do the same, that
                                                                20                       violates Facebook’s Terms of Service, Self-Service Ad Terms, and
                                                                21                       Advertising Policies, and Instagram’s Terms of Use.
                                                                22           3.    That Plaintiffs be awarded damages in such amounts to be proven at trial.
                                                                23           4.    That Plaintiffs be awarded pre- and post-judgment interest as allowed by
                                                                24   law.
                                                                25   ///
                                                                26   ///
                                                                27   ///
                                                                28   ///

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                                                                                                COMPLAINT; DEMAND FOR JURY TRIAL
                                                                         Case 4:20-cv-02429-KAW Document 1 Filed 04/09/20 Page 15 of 47



                                                                 1         5.    That the Court grant all such other and further relief as the Court may
                                                                 2   deem just and proper.
                                                                 3
                                                                 4   Dated: April 9, 2020                       HUNTON ANDREWS KURTH LLP
                                                                 5
                                                                 6                                                 By:        /s/ Ann Marie Mortimer
                                                                                                                            Ann Marie Mortimer
                                                                 7
                                                                                                                            Jason J. Kim
                                                                 8                                                          Jeff R. R. Nelson
                                                                 9                                                       Attorneys for Plaintiffs
                                                                                                                         FACEBOOK, INC. and
                                                                10                                                       INSTAGRAM, LLC
                                                                11                                                          Facebook Platform Enforcement
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




                                                                12                                                          and Litigation
                                                                                                                            Jessica Romero
                                                                13                                                          Michael Chmelar
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                                                                          Case 4:20-cv-02429-KAW Document 1 Filed 04/09/20 Page 16 of 47



                                                                 1                                      DEMAND FOR JURY TRIAL
                                                                 2           Plaintiffs hereby demand a trial by jury on all issues triable to a jury.
                                                                 3
                                                                 4   Dated: April 9, 2020                                HUNTON ANDREWS KURTH LLP
                                                                 5
                                                                 6                                                         By:        /s/ Ann Marie Mortimer
                                                                                                                                    Ann Marie Mortimer
                                                                 7
                                                                                                                                    Jason J. Kim
                                                                 8                                                                  Jeff R. R. Nelson
                                                                 9                                                               Attorneys for Plaintiffs
                                                                                                                                 FACEBOOK, INC. and
                                                                10                                                               INSTAGRAM, LLC
                                                                11
                           Los Angeles, California 90071-2627
                           550 South Hope Street, Suite 2000
Hunton Andrews Kurth LLP




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                        EXHIBIT 1



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2019-12-13 - Screenshot from https://www.linkedin.com/in/basant-gajjar-037b1a




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                        EXHIBIT 2



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                                                              DomainTools


     Inspect: leadcloak.com

       Domain Profile              Screenshot History             Whois History       Hosting History   SSL Profile


                                                                2016-12-06 - (3 years ago)


     Domain                     leadcloak.com

     Record Date                2016-12-06

     Registrar                  GODADDY.COM, LLC

     Server                     whois.godaddy.com

     Created                    2016-11-29 (3 years ago)

     Updated                    2016-11-29 (3 years ago)

     Expires                    2017-11-29 (2 years ago)

                                   abuse@godaddy.com
     Unique Emails
                                   leadcloak.com@domainsbyproxy.com




https://research.domaintools.com/iris/search/?q=leadcloak.com                                                         1/3
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4/1/2020                  Case 4:20-cv-02429-KAW Document
                                                       Iris | 1  Filed 04/09/20 Page 21 of 47
                                                              DomainTools

      Domain Name: leadcloak.com
      Registry Domain ID: 2077722849_DOMAIN_COM-VRSN
      Registrar WHOIS Server: whois.godaddy.com
      Registrar URL: http://www.godaddy.com
      Update Date: 2016-11-29T07:13:32Z
      Creation Date: 2016-11-29T07:13:31Z
      Registrar Registration Expiration Date: 2017-11-29T07:13:31Z
      Registrar: GoDaddy.com, LLC
      Registrar IANA ID: 146
      Registrar Abuse Contact Email: abuse@godaddy.com
      Registrar Abuse Contact Phone: +1.4806242505
      Domain Status: clientTransferProhibited http://www.icann.org/epp#clientTransferProhibited
      Domain Status: clientUpdateProhibited http://www.icann.org/epp#clientUpdateProhibited
      Domain Status: clientRenewProhibited http://www.icann.org/epp#clientRenewProhibited
      Domain Status: clientDeleteProhibited http://www.icann.org/epp#clientDeleteProhibited
      Registry Registrant ID: Not Available From Registry
      Registrant Name: Registration Private
      Registrant Organization: Domains By Proxy, LLC
      Registrant Street: DomainsByProxy.com
      Registrant Street: 14747 N Northsight Blvd Suite 111, PMB 309
      Registrant City: Scottsdale
      Registrant State/Province: Arizona
      Registrant Postal Code: 85260
      Registrant Country: US
      Registrant Phone: +1.4806242599
      Registrant Phone Ext:
      Registrant Fax: +1.4806242598
      Registrant Fax Ext:
      Registrant Email: leadcloak.com@domainsbyproxy.com
      Registry Admin ID: Not Available From Registry
      Admin Name: Registration Private
      Admin Organization: Domains By Proxy, LLC
      Admin Street: DomainsByProxy.com
      Admin Street: 14747 N Northsight Blvd Suite 111, PMB 309
      Admin City: Scottsdale
      Admin State/Province: Arizona
      Admin Postal Code: 85260
      Admin Country: US
      Admin Phone: +1.4806242599
      Admin Phone Ext:
      Admin Fax: +1.4806242598
      Admin Fax Ext:
      Admin Email: leadcloak.com@domainsbyproxy.com
      Registry Tech ID: Not Available From Registry
      Tech Name: Registration Private
      Tech Organization: Domains By Proxy, LLC
      Tech Street: DomainsByProxy.com
      Tech Street: 14747 N Northsight Blvd Suite 111, PMB 309
      Tech City: Scottsdale
      Tech State/Province: Arizona
      Tech Postal Code: 85260
      Tech Country: US
      Tech Phone: +1.4806242599
      Tech Phone Ext:
      Tech Fax: +1.4806242598
      Tech Fax Ext:
      Tech Email: leadcloak.com@domainsbyproxy.com
      Name Server: NS47.DOMAINCONTROL.COM
      Name Server: NS48.DOMAINCONTROL.COM
      DNSSEC: unsigned
      URL of the ICANN WHOIS Data Problem Reporting System: http://wdprs.internic.net/



                                                                Historical Records
https://research.domaintools.com/iris/search/?q=leadcloak.com                                     2/3
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4/1/2020                  Case 4:20-cv-02429-KAW Document
                                                       Iris | 1  Filed 04/09/20 Page 22 of 47
                                                              DomainTools

                                                                31 records found




https://research.domaintools.com/iris/search/?q=leadcloak.com                                   3/3
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                        EXHIBIT 3



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                        EXHIBIT 4



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2020-04-06 - Screenshot from leadcloak.com/compare




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                        EXHIBIT 5



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2020-04-01 - Screenshot from leadcloak.com as of 2017-03-25 via archive.org




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                        EXHIBIT 6



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                        EXHIBIT 7



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                        EXHIBIT 8



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                        EXHIBIT 9



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                       EXHIBIT 10



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             2018-08-08 - Screenshot from leadcloak.com




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                       EXHIBIT 11



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                       EXHIBIT 12



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                       EXHIBIT 13



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         2018-08-08 - Screenshot from leadcloak.com




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                       EXHIBIT 14



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